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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


 UNITED STATES OF AMERICA

 VS.                                           CASE NO: 6:20-cr-97-GAP-LHP

 JOEL MICAH GREENBERG

  JUDGE:        Gregory A. Presnell   COUNSEL FOR       Roger Handberg, III,
                                      GOVERNMENT:       Amanda Sterling
                                                        Daniels, Jennifer
                                                        Harrington, Chauncey
                                                        Bratt
  DEPUTY        Lisa Milliron         COUNSEL FOR       Fritz J. Scheller
  CLERK:                              DEFENDANT:        David Webster
  COURT         Nikki Peters          PROBATION:        Omayra Hernandez
  REPORTER:                                             Karmen Coates
  SCHEDULED     December 1, 2022      INTERPRETER:      Not Required
  DATE/TIME:    9:30 AM

                   MINUTES ON SENTENCING – Day Two

 Defendant and Brian Applegate (counsel for victim Seminole County) make
 statements to the Court.

 SENTENCE IMPOSED as to Counts One, Eight, Nine, Fourteen, Twenty-four,
 and Twenty-six of the Third Superseding Indictment.

 Counts Two through Seven, Ten though Thirteen, Fifteen through Twenty-three,
 Twenty-five, Twenty-seven through Thirty-three, the underlying Indictment,
 Superseding Indictment, and Second Superseding Indictment are DISMISSED
 in accordance with the Plea Agreement.

 INCARCERATION: 132 months. This term consists of a term of 108 months as
 to Counts One, Fourteen, and Twenty-six, such terms to be served concurrently
 with each other; a term of 20 months as to Count Eight and a term of 60 months
 as to Count Twenty-four, such terms to be served concurrently with each other
 and concurrently with the terms imposed as to Counts One, Fourteen, and
 Twenty-six; and a term of 24 months as to Count Nine, such term to be served
 consecutive to the terms imposed on all other counts.
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 SUPERVISED RELEASE: 10 years. This term shall consist of terms of 10 years
 on Count One, three years on each of Counts Eight, Fourteen, Twenty-four, and
 Twenty-six, and one year on Count Nine, all such terms to run concurrently.

 Special conditions of supervised release: Drug testing requirements are imposed.
 Substance abuse aftercare treatment conditions imposed. Mental health and sex
 offender mental health treatment conditions imposed. Defendant shall cooperate
 in the collection of DNA. Sex offender conditions imposed as stated on the
 record in open court. Search conditions imposed. Defendant shall provide
 financial information to Probation upon request. Defendant shall have no
 contact with the Count 24 victim.

 FINE and cost of imprisonment are waived.

 SPECIAL ASSESSMENT of $600.00 is due immediately.

 RESTITUTION ORDERED: $473,733.29 to the United States Small Business
 Administration/DCF, Court Ordered Restitution, 721 19th Street, 3rd Floor,
 Room 301, Denver, Colorado 80202; and $109,786.12 to the Seminole County
 Attorney’s Office, c/o Bryant Applegate, Interim County Manager, 1101 E. 1st
 Street, Suite 3030, Sanford, Florida 32771.

 A restitution order was signed in open court.

 The defendant shall make payments toward his financial obligations per a
 UNICOR schedule while in custody, then by monthly payments of $250.00 per
 month after his release from custody.

 FORFEITURE ORDERED of those assets identified in the Order of Forfeiture
 granting the Motion for Order of Forfeiture (Doc. 120) and signed in open court.

 The defendant is remanded to the custody of the United States Marshal.

 The Court recommends to the Bureau of Prisons that the defendant be placed in
 the facility located in Coleman, Florida, if appropriate and available, and that he
 be afforded the opportunity to participate in the residential drug abuse treatment
 program (RDAP) while he is incarcerated.

 Defendant advised of right to appeal.

 Time in court: 9:31 a.m. – 11:15 a.m.; Total time in court: one hour, 44 minutes


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